              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


TIMOTHY TYLER, et al.,

                    Plaintiffs,
                                          No. 3:16-CV-00456
            v.
                                          Hon. Malachy E. Mannion
CHESAPEAKE APPALACHIA                     Electronically Filed
L.L.C., et al.,

                    Defendants.



  NOTICE OF SUGGESTION OF PENDENCY OF BANKRUPTCY FOR
 CHESAPEAKE ENERGY CORPORATION, ET AL., AND AUTOMATIC
               STAY OF THESE PROCEEDINGS

      PLEASE TAKE NOTICE that, on June 28, 2020, Defendant Chesapeake

Energy Corporation and its subsidiaries, including, without limitation, Defendants

Chesapeake Appalachia, L.L.C. and Chesapeake Energy Marketing, L.L.C.

(collectively the “Debtors”) filed voluntary petitions for relief under chapter 11 of

title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (“Bankruptcy Code”), in

the United States Bankruptcy Court for the Southern District of Texas

(“Bankruptcy Court”). The Debtors’ chapter 11 cases are pending before the

Honorable David R. Jones, United States Bankruptcy Judge, and joint

administration has been requested under the lead case In re Chesapeake Energy

Corporation, et al., Case No. 20-33233 (collectively, the “Chapter 11 Cases”). A
copy of the voluntary petition of the lead Debtor, Chesapeake Energy Corporation,

is attached hereto as Exhibit A.


        PLEASE TAKE FURTHER NOTICE that pursuant to section 362(a) of

the Bankruptcy Code, the Debtors’ filing of their respective voluntary petitions

gives rise to a stay, applicable to all entities, of, among other things: (a) the

commencement or continuation of any judicial, administrative, or other action or

proceeding against the Debtors (i) that was or could have been commenced before

the commencement of the Chapter 11 Cases or (ii) to recover a claim against the

Debtors that arose before the commencement of the Chapter 11 Cases; (b) the

enforcement, against any of the Debtors or against any property of each of the

Debtors’ bankruptcy estates, of a judgment obtained prior to the commencement of

the Chapter 11 Cases; and (c) any act to obtain possession of property of or from

any of the Debtors’ bankruptcy estates, or to exercise control over property of any

of the Debtors’ bankruptcy estates. No order has been entered in the Chapter 11

Cases granting relief from the automatic stay with respect to the above-captioned

case.


        PLEASE TAKE FURTHER NOTICE that pleadings filed in the Chapter

11 Cases may be obtained free of charge by visiting the website of Debtors’

noticing and claims agent at https://dm.epiq11.com/chesapeake. You may also


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obtain copies of any pleadings by visiting the Court’s website at

https://www.txs.uscourts.gov/page/bankruptcy-court (PACER login and password

required) in accordance with the procedures and fees set forth therein.


                                       Respectfully submitted,

                                       /s/ John B. Dempsey
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                                       Attorneys for Defendants,
                                       Chesapeake Energy Corporation,
                                       Chesapeake Appalachia, L.L.C., and
                                       Chesapeake Energy Marketing, L.L.C.

Date: July 7, 2020




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                         CERTIFICATE OF SERVICE

      I, John B. Dempsey, hereby certify that a true and correct copy of the

foregoing Notice of Suggestion of Pendency of Bankruptcy and Automatic Stay of

These Proceedings was served upon all parties who have appeared in this action

via the Court’s Electronic Case Filing System on this 7th day of July 2020.


                                                   /s/ John B. Dempsey
                                                   John B. Dempsey
